Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 1 of 27 Page ID #:82


  1   Rafael Nendel-Flores, Esq. (State Bar No. 223358)
      Rafael.Nendel-Flores@leclairryan.com
  2   Guillermo M. Tello, Esq. (State Bar No. 277896)
      Guillermo.Tello@leclairryan.com
  3   LECLAIRRYAN, LLP
      725 South Figueroa Street, Suite 350
  4   Los Angeles, CA 90017
      TELEPHONE: 213.337.3203
  5   TELEFAX: 213.624.3755
  6   Attorney for Defendants
      SCOOBEEZ AND AVITUS, INC.
  7   dba AVITUS GROUP
  8
  9
 10
                            UNITED STATES DISTRICT COURT
 11
            CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
 12
 13
      DE’VON WALKER, on behalf of               Case No.: 2:18-cv-06108 AB (RAOx)
 14   himself and others similarly situated,
                                                Judge: Hon. Andre Birotte Jr.
 15                Plaintiff,                   Magistrate: Hon. Rozella A. Oliver
 16         v.                                  DEFENDANTS’ NOTICE OF
                                                MOTION AND MOTION TO
 17   SCOOBEEZ, a California Corporation;       COMPEL INDIVIDUAL
      AVITUS, INC., a Montana corporation;      ARBITRATION AND TO DISMISS
 18   AVITUS GROUP., an unknown                 OR, IN THE ALTERNATIVE,
      business entity; SCOOBEEZ, INC.           STAY THE PROCEEDINGS;
 19   CORP LA., a business entity of            MEMORANDUM OF POINTS AND
      unknown form; and DOES 1 through          AUTHORITIES IN SUPPORT
 20   50, inclusive,                            THEREOF
 21                Defendants.                  [Filed concurrently with Declarations
                                                of Pablo Olvera, Sarah Straus, Jodi
 22                                             Milliron and Rafael G. Nendel-Flores
                                                and [Proposed]Order]
 23
                                                Date:     August 24, 2018
 24                                             Time:     10:00 a.m.
                                                Location: Courtroom 7B
 25
 26                                             Complaint Filed: May 29, 2018
                                                Trial Date:      None Set
 27
 28

                                          1               2:18-cv-06108 AB (RAOx)
             DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
               TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 2 of 27 Page ID #:83


  1         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
  2   DISTRICT OF CALIFORNIA, AND TO PLAINTIFF AND HIS COUNSEL
  3   OF RECORD:
  4         PLEASE TAKE NOTICE that on August 24, 2018, at 10:00 a.m., or as
  5   soon thereafter as the matter may be heard before the Honorable Judge Andre
  6   Birotte Jr. in Courtroom 7B of the above-entitled Court, located at 350 W 1st
  7   Street, Los Angeles, CA 90012, Defendants Scoobeez and Avitus, Inc. dba Avitus
  8   Group (collectively “Defendants”) will and hereby do move as follows:
  9         For an order compelling Plaintiff De’Von Walker (“Plaintiff”) to submit his
 10   claims to final and binding individual arbitration pursuant to the terms of the
 11   arbitration agreement between Plaintiff and Defendants which Plaintiff executed on
 12   or about September 30, 2016.
 13         For an order dismissing this action without prejudice or, in the alternative,
 14   staying this action pending resolution of Plaintiff’s claims in the arbitral forum.
 15         The Motion is based upon this Notice, the accompanying Memorandum of
 16   Points and Authorities in support thereof, the supporting declaration of Rafael
 17   Nendel-Flores, Declaration of Pablo Olvera, Declaration of Sarah Straus,
 18   declaration of Jodi Milliron and the exhibits attached thereto, all papers and
 19   pleadings filed in this action, and any other evidence and argument as may be
 20   presented in connection with the hearing on the Motion.
 21         This motion is made following the conference of counsel pursuant to L.R. 7-
 22   3 which took place on July 11 and July 14, 2018.
 23
 24   DATED: July 20, 2018              LECLAIRRYAN LLP
 25                                     By:
                                        Rafael G. Nendel-Flores, Esq.
 26                                     Guillermo M. Tello, Esq.
                                        Attorney for Defendants
 27                                     SCOOBEEZ AND AVITUS, INC. dba AVITUS
                                        GROUP
 28

                                          2               2:18-cv-06108 AB (RAOx)
             DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
               TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 3 of 27 Page ID #:84


                                                      Table of Contents
  1
  2                                                                                                                       Page
  3
      I.      INTRODUCTION .......................................................................................... 3
  4
  5   II.     STATEMENT OF FACTS............................................................................. 4
  6         A. The Parties...................................................................................................... 4
            B. Plaintiff Agreed to Arbitrate His Claims ....................................................... 4
  7
  8   III. PROCEDURAL HISTORY........................................................................... 5

  9   IV. LEGAL ANALYSIS ....................................................................................... 6
 10         A. The Federal Arbitration Act (FAA) Governs the Arbitration Agreement ..... 6
 11            1. The FAA exception does not apply.......................................................... 8
            B. The Parties Entered Into Valid Agreements to Arbitrate Their Claims........ 9
 12
                  1. Plaintiff Executed the Arbitration Agreement, Which Covers
 13                  the Subject Claims.................................................................................... 9
 14         C. The Arbitration Agreement Is Valid and Enforceable ................................ 10
 15               1. The Arbitration Agreement is Virtually Identical to the Agreement
                     Upheld by the California Supreme Court in Little v. Auto Stiegler ..... 10
 16
                  2. The Arbitration Agreement Is Not Procedurally Unconscionable........ 11
 17
                  3. The Agreement is Not Substantively Unconscionable .......................... 14
 18
                  4. The Agreements Satisfy All of the Armendariz Requirements ............. 14
 19         D. To The Extent Any Provision Is Unconscionable, It Must Be Severed ..... 17
 20         E. Each Defendant Can enforce Arbitration Under Multiple
 21            Legal Theories .............................................................................................. 17
                  1. The Arbitration Agreement Specifically Applies to Avitus
 22
                     and Scoobeez ......................................................................................... 17
 23               2. Scoobeez can enforce the Arbitration Agreement ................................. 17
 24         F. The Civil Action Should be Stayed Pending Arbitration or,
 25            Alternatively, Dismissed Without Prejudice. ............................................. 19
            G. Plaintiff’s Claims Must be arbitrated individually ...................................... 20
 26
 27   V.      CONCLUSION ............................................................................................. 21

 28

                                             i               2:18-cv-06108 AB (RAOx)
                DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                  TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 4 of 27 Page ID #:85


                                                 Table of Authorities
  1
                                                                                                                 Page(s)
  2
      Cases
  3
      Allied-Bruce Terrains Cos. v. Dobson
  4
        513 U.S. 265 (1995)................................................................................................ 6
  5
      Armendariz v. Foundation Health Psychcare Services, Inc.
  6
        24 Cal.4th 83 (2000) ...................................................................................... passim
  7
      Armenta v. Staffworks, LLC
  8
        2017 WL 3118778 at * 3-4 (S.D. Cal. 2017) ....................................................... 21
  9
      Boucher v. Alliance Title Co., Inc.
 10
        127 Cal.App.4th 262 (2005) ........................................................................... 18, 19
 11
      Chico v. Hilton Worldwide, Inc.
 12
        2014 WL 5088240 at * 11 (C.D. Cal. 2014) ........................................................ 21
 13
      Cilluffo v. Central Refrigerated Services, Inc.
 14
        2012 WL 8523507, at *3 (C.D. Cal. Sept. 24, 2012) ............................................. 7
 15
      Circuit City Stores, Inc. v. Adams
 16
        532 U.S. 105 (2001)................................................................................................ 8
 17
      Dotson v. Amgen, Inc.
 18
        181 Cal.App.4th 975 (2010) ........................................................................... 12, 13
 19
      Doulon v. USSA Cas Ins. Co.
 20
        167 Cal.App.4th 412 (2008) ................................................................................. 18
 21
      Dryer v. Los Angeles Rams
 22
        40 Cal.3d 406 (1985) ............................................................................................ 18
 23
      Eshagh v. The Terminix International Company
 24
        588 Fed.App. 703 (9th Cir. 2014).......................................................................... 21
 25
      Espejo v. Southern California Permanente Medical Group
 26
        246 Cal.App.4th 1047 (2016) ............................................................................... 10
 27
 28

                                            ii              2:18-cv-06108 AB (RAOx)
               DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                 TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 5 of 27 Page ID #:86


                                            Table of Authorities Cont'd.
  1
                                                                                                                      Page(s)
  2   Federal Ins. Co. v. Superior Court
  3     60 Cal.App.4th 1370 (1998) ................................................................................. 20
  4   Fisher v. DCH Temecula Imports LLC
  5     187 Cal.App.4th 601 (2010) ................................................................................... 7
  6   Garcia v. Pexco, LLC
  7     11 Cal.App.5th 782 (2017) ............................................................................. 17, 18
  8   Geographic Expeditions, Inc. v. Estate of Lhotka
  9     599 F. 3d. 1102 (9th Cir. 2010) ............................................................................ 19
 10   Gilmer v. Insterstate/Johnson Lane Corp.
 11     500 U.S. at 35 ......................................................................................................... 8
 12   Graham v. Scissor-Tail, Inc.
 13     28 Cal.3d 807 (1981) ............................................................................................ 12
 14   Green Tree Financial Corp. v. Randolph
 15     531 U.S. 79 (2000).................................................................................................. 6
 16   Int’l. Bro. Teamsters Local Union No. 50 v. Kienstra Precast, LLC
 17     702 F.3d 954 (7th Cir. 2012) .................................................................................. 9
 18   Kinecta Alternative Financial Solutions, Inc. v. Superior Court
 19     205 Cal. App. 4th 506 (2012) ............................................................................... 20
 20   Kowalewski v. Samandarov
 21     590 F. Supp. 2d 477 (S.D.N.Y. 2008) .................................................................... 9
 22   Lagatree v. Luce Forward, Hamilton & Scripps
 23     74 Cal.App.4th 1105 (1999) ................................................................................. 12
 24   Laswell v. AG Seed Beach, LLC
 25     189 Cal.App.4th 1399 (2010) ............................................................................... 19
 26   Little v. Auto Stiegler, Inc.
 27     29 Cal.4th 1064 (2003) ............................................................................. 10, 11, 16
 28

                                            iii             2:18-cv-06108 AB (RAOx)
               DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                 TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 6 of 27 Page ID #:87


                                            Table of Authorities Cont'd.
  1
                                                                                                                   Page(s)
  2   Marshall v. Pontiac
  3     287 F.Supp.2d 1229 (S.D. Cal. 2003) .................................................................. 11
  4   Mastrobuono v. Shearson Lehman Hutton, Inc.
  5     514 U.S. 52 (1995).................................................................................................. 7
  6   Mercuro v. Superior Court 96
  7     Cal.App.4th 164 (2002) ........................................................................................ 10
  8   Metalclad Corp. v. Ventana Envtl. Org. P’ship.
  9     109 Cal.App.4th 1705 (2003) ............................................................................... 18
 10   Moses H Cone Mem. Hosp. v. Mercury Constr. Corp.
 11     460 U.S. 1 (1983) ................................................................................................ 6, 7
 12   Mount Diablo Medical Center v. Health Net of California, Inc.
 13     101 Cal. App. 4th 711 (2002) ................................................................................. 7
 14   Mundi v. Union Sec. Life Ins. Co.
 15     555 F.3d 1042 (9th Cir. 2009) .............................................................................. 18
 16   Nelsen v. Legacy Partners Residential, Inc.
 17     207 Cal.App.4th 1115 (2012) ......................................................................... 11, 20
 18   Perry v. Thomas
 19     482 U.S. 483 (1987)................................................................................................ 9
 20   Roman v. Superior Court
 21     172 Cal.App.4th 1462 (2009) ............................................................................... 12
 22   Sanchez v. Valencia Holding Co., LLC
 23     61 Cal.4th 899 (2015) ........................................................................................... 14
 24   Sanchez v. Western Pizza Enterprises, Inc.
 25     172 Cal.App.4th 154 (2009) ................................................................................. 16
 26   Serpa v. California Surety Investigations
 27     215 Cal.App.4th 695 (2013) ................................................................................. 13
 28

                                            iv              2:18-cv-06108 AB (RAOx)
               DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                 TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 7 of 27 Page ID #:88


                                              Table of Authorities Cont'd.
  1
                                                                                                                         Page(s)
  2   Simula, Inc. v. Autoliv, Inc.
  3      175 F.3d 716 (9th Cir. 1999) .................................................................................. 7
  4   Sonic–Calabasas A, Inc. v. Moreno (Sonic II)
  5      57 Cal.4th 1109 (2013) ................................................................................... 11, 14
  6   Southland Corp. v. Keating
  7      465 U.S. 1 (1984) .................................................................................................... 6
  8   Stolt –Nielsen S.A. v. AnimalFeeds Int’l Corp.
  9      559 U.S. 662 (2010) .............................................................................................. 20
 10   Volt Info. Sciences v. Leland Stanford Univ.
 11      489 U.S. 468 (1989)................................................................................................ 7
 12   Williams v. Walker–Thomas Furniture Co.
 13      350 F.2d 445 (D.C. Cir. 1965) .............................................................................. 14
 14
 15
 16   Statutes

 17   9 U.S.C. § 1 ................................................................................................................ 6

 18   9 U.S.C. § 2 ................................................................................................................ 6

 19   9 U.S.C. § 3 .............................................................................................................. 20

 20   Cal. Civ. Code § 1633.7 ........................................................................................... 10

 21   Cal. Civ. Code § 1633.9(a)....................................................................................... 10

 22   Cal. Civ. Code § 1670.5(b) ...................................................................................... 14

 23   Cal. Code Civ. Proc. § 631.8 .................................................................................... 16

 24   Cal. Code Civ. Proc. § 1280 ..................................................................................... 15

 25   Cal. Code Civ. Proc. § 1281.4 .................................................................................. 19

 26   Cal. Code Civ. Proc. § 1283.05................................................................................ 15

 27   Fed. R. Civ. P. 12(b)(1) ............................................................................................ 19

 28

                                             v               2:18-cv-06108 AB (RAOx)
                DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                  TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 8 of 27 Page ID #:89


                                             Table of Authorities Cont'd.
  1
                                                                                                                    Page(s)
  2
  3
  4   Other Authorities

  5   Labor Code § 229 ....................................................................................................... 9

  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                             vi              2:18-cv-06108 AB (RAOx)
                DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                  TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 9 of 27 Page ID #:90


                   MEMORANDUM OF POINTS AND AUTHORITIES
  1
      I.    INTRODUCTION
  2
            Plaintiff De’Von Walker (“Plaintiff”) claims Defendants Scoobeez and
  3
      Avitus Inc. (collectively “Defendants”) violated various California employment
  4
      laws and seeks alleged economic damages, non-economic damages, declaratory
  5
      relief, punitive damages, and attorneys’ fees. However, in resolving this motion,
  6
      the Court need address only three straightforward issues:
  7
            A.     Does A Valid Arbitration Agreement Exist? In seeking to compel
  8
      arbitration, Defendants need only show, by a preponderance of the evidence, the
  9
      existence of valid arbitration agreements executed by Plaintiff. Here, Plaintiff
 10
      signed an arbitration agreement entitled Employee Acknowledgement and
 11
      Arbitration Agreement (“Arbitration Agreement”) on September 30, 2016. As
 12
      detailed below, the Arbitration Agreement is valid and enforceable.
 13
            B.     Does the Agreement Authorize Class-wide Arbitration? Both
 14
      Federal and California courts have held that class-wide arbitration is inappropriate
 15
      unless it is permitted by the subject arbitration agreement. Here, the Arbitration
 16
      Agreement is a bilateral agreement and manifestly does not contemplate class
 17
      arbitration. As explained below, the Court may decide this issue as it is a gateway
 18
      issue and two prior California Courts of Appeal analyzed virtually identical
 19
      agreements and held that they did not authorize class wide arbitration.
 20
            C.     Is Scoobeez a Third Party Beneficiary to the Arbitration
 21
      Agreement? Plaintiff’s arbitration obligations do not attach only to those who
 22
      have actually signed the arbitration agreement. While Scoobeez is not a signatory
 23
      to the Arbitration agreement, they are nonetheless entitled to enforce the provisions
 24
      thereof under three legal theories (1) agency, (2) third-party beneficiary, and (3)
 25
      equitable estoppel.
 26
 27         Because a valid arbitration agreement exists, the Court should compel this
 28   matter to binding private arbitration and stay or dismiss this matter pending

                                          3               2:18-cv-06108 AB (RAOx)
             DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
               TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 10 of 27 Page ID #:91


   1   resolution of the arbitration.
   2   II.    STATEMENT OF FACTS
   3          A. The Parties
   4          Plaintiff worked for Scoobeez only for a short period, between October 2016
   5   and November 2016, providing delivery services for customers. Declaration of
   6   Pablo Olvera (“Olvera Decl.”), ¶ 4. Essentially, Plaintiff delivered packages, some
   7   of which originated outside of California, from various distribution centers to
   8   customers in California. Olvera Decl., ¶ 4. However, Plaintiff was never required
   9   to, and in fact, never delivered packages across state lines. Id. Avitus is a
  10   professional employer organization (“PEO”) providing administrative services to
  11   employers, such as payroll administration         and outsourced human resource
  12   services, to its customers throughout the United States.       Declaration of Jodi
  13   Milliron (“Milliron Decl.”), ¶ 3. Avitus provided these type of services to Scoobeez
  14   during the time that Plaintiff worked for Scoobeez. Milliron Decl., ¶ 3.
  15          B. Plaintiff Agreed to Arbitrate His Claims
  16          Before commencing his employment, on September 30, 2016, Plaintiff
  17   electronically signed the Arbitration Agreement. Million Decl., ¶ 5; Exh. A;
  18   Declaration of Sarah Staus (“Staus Decl.”), ¶ 12.
  19          Avitus developed a procedure by which users are required to follow specific
  20   steps in order to electronically sign the Arbitration Agreement. Straus Decl., ¶ 5-9.
  21   Plaintiff received an email at his personal email address with instructions to create
  22   an EHire account. Id. at ¶ 6. Following those instruction, he accessed a secure web
  23   page and created a unique PIN and password to access EHire. Id. In EHire,
  24   Plaintiff could, and did, securely review and electronically signed the Arbitration
  25   Agreement. Id. at ¶ 7-9. Neither Avitus nor Scoobeez were able to access EHire on
  26   Plaintiff’s behalf. Id. at ¶ 7, 11.
  27          Specifically, Plaintiff would (1) sign into EHire with his unique PIN and
  28   Password: (2) click the appropriate link, which states: “ To View the Arbitration

                                            4               2:18-cv-06108 AB (RAOx)
               DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                 TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 11 of 27 Page ID #:92


   1   Agreement Click Here”; (3) review the Arbitration Agreement which appears on
   2   the screen; (4) select an option marked “Yes” below a prompt that reads “ I have
   3   read, understand, and acknowledge the information presented in the link above”;
   4   (5) enter his unique PIN below a prompt which reads: “eSign Account Forms” and
   5   “Enter your PIN in the form below to approve the submission of your application
   6   information. By entering your PIN you acknowledge and approve it to be your
   7   legal signature. Note that by entering your PIN, you are also affirming that you
   8   have provided (to the best of your knowledge) true and correct information. You
   9   further acknowledge and approve the submission of this information for the use
  10   designated,” thereby affirmatively stating that the user has agreed to electronically
  11   sign the documents; (6) click a button titled “APPROVE.” Id. at ¶ 8.
  12          When completed, the Arbitration Agreement was marked with a timestamp
  13   indicating the exact date and time Plaintiff electronically signed the document. Id.
  14   at ¶ 9. A record of Plaintiff’s actions was also stored in EHire’s digital vault,
  15   where records cannot be altered in any way. Id. Avitus’ records confirm Plaintiff
  16   created a PIN and password, accessed EHire and electronically signed the Avitus
  17   Agreement on September 30, 2016 at 7:27: 37 PM GMT. Id. at ¶ 9, 12.
  18   III.   PROCEDURAL HISTORY
  19          On May 29, 2018, Plaintiff filed his complaint in the Los Angeles Superior
  20   Court as a Class Action alleging the following causes of action: (1) Failure to Pay
  21   wages under the FLSA (29 USC §§ 206, 207); (2) Failure to Pay Minimum Wages;
  22   (3) Failure to Pay Wages on Overtime Under Labor Code 510; (4) Meal-Period
  23   Liability Under Labor Code 226.7; (5) Rest-Break Liability Under Labor Code
  24   226.7; (6) Violation of Labor Code 226(a); (7) Reimbursement of Necessary
  25   Expenditures Under Labor Code 2802; (8) Violation of Labor Code 221; (9)
  26   Penalties Pursuant to Labor Code 203; (10) Violation of Business & Professions
  27   code 17200 et seq. Declaration of Rafael Nendel-Flores, (“Nendel-Flores”) ¶ 3.
  28   On July 13, 2018, Defendants timely removed this action based on federal question

                                           5               2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 12 of 27 Page ID #:93


   1   jurisdiction.
   2            Defendants met and conferred with Plaintiff on July 11 and July
   3   14requesting that Plaintiff stipulate to submit this action to individual arbitration
   4   pursuant to the Arbitration Agreement. Id. at ¶ 3. On July 18, 2018, Plaintiff
   5   informed Defendants that he refused and would oppose any motion to compel the
   6   action to arbitration. Id. at ¶ 6. Defendants now file this timely motion to compel
   7   individual arbitration following Plaintiff’s refusal to comply with the terms of the
   8   Arbitration Agreement.
   9   IV.      LEGAL ANALYSIS
  10            A. The Federal Arbitration Act (FAA) Governs the
  11              Arbitration Agreement
  12            The Arbitration Agreement is governed by the Federal Arbitration Act
  13   ("FAA"). 9 U.S.C. § 1. Under the FAA, a written provision "in any ... contract ...
  14   involving commerce to settle by arbitration a controversy thereafter arising shall be
  15   valid, irrevocable, and enforceable, save upon such grounds as exist at law or in
  16   equity for the revocation of any contract." 9 U.S.C. § 2. Congress enacted the FAA
  17   to overcome courts' reluctance to enforce arbitration agreements. See Allied-Bruce
  18   Terrains Cos. v. Dobson, 513 U.S. 265, 270 (1995). The FAA not only placed
  19   arbitration agreements on equal footing with other contracts, but also established a
  20   federal policy favoring arbitration. See Green Tree Financial Corp. v. Randolph,
  21   531 U.S. 79, 90 (2000); Southland Corp. v. Keating, 465 U.S. 1, 10 (1984). This
  22   policy is so significant that "even claims arising under a statute designed to further
  23   important policies may be arbitrated." Green Tree Financial Corp., supra, 531 U.S.
  24   at 90.
  25            The FAA establishes a "liberal federal policy favoring arbitration
  26   agreements." Moses H Cone Mem. Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24
  27   (1983).    In turn, Courts have ruled that "any doubts concerning the scope of
  28   arbitrable issues should be resolved in favor of arbitration, where the problem at

                                             6               2:18-cv-06108 AB (RAOx)
                DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                  TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 13 of 27 Page ID #:94


   1   hand is the construction language itself or an allegation of waiver, delay, or a like
   2   defense to arbitrability." Moses, supra, 460 U.S. at 24; Cilluffo v. Central
   3   Refrigerated Services, Inc., No. EDCV 12-00886 VAP, 2012 WL 8523507, at *3
   4   (C.D. Cal. Sept. 24, 2012); Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 719 (9th Cir.
   5   1999) (holding that "[t]he standard for demonstrating arbitrability is not high....
   6   Such [arbitration] agreements are to be rigorously enforced.").
   7         For state law to apply exclusively to an arbitration agreement, the agreement
   8   must clearly opt out of the FAA and express that state law applies. Mastrobuono v.
   9   Shearson Lehman Hutton, Inc., 514 U.S. 52, 63-64 (1995), as explained in Mount
  10   Diablo Medical Center v. Health Net of California, Inc., 101 Cal. App. 4th 711,
  11   722-723 (2002) (finding portions of the California Arbitration Act (CAA)
  12   applicable only because "[t]he choice of law paragraph provides that issues of
  13   contract validity, interpretation and enforcement shall be governed by California
  14   law"); see also Volt Info. Sciences v. Leland Stanford Univ., 489 U.S. 468, 470
  15   (1989) (finding that the CAA applied instead of the FAA "in a case where the
  16   parties have agreed that their arbitration agreement will be governed by the law of
  17   California").
  18         Here, the FAA applies to the Arbitration Agreement. First, the Arbitration
  19   Agreement involves "commerce," as this Arbitration Agreement arose and Plaintiff
  20   entered into it in the context of a contractual business relationship to, among other
  21   things, deliver goods in California that originated and arrived at California
  22   distribution centers from various other states. Olvera Decl., ¶ 3-4. The sale of the
  23   goods necessarily includes the use of freeways and highways. See Fisher v. DCH
  24   Temecula Imports LLC, 187 Cal.App.4th 601, 607-608 (holding that the sale of a
  25   product involved interstate commerce, and that the FAA applied, because the
  26   product was manufactured outside of California and transported in California on
  27   interstate highways.) Further, the Arbitration Agreement neither opts out of the
  28   FAA nor expresses application of California’s state law. Instead, the Arbitration

                                           7               2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 14 of 27 Page ID #:95


   1   Agreement expressly states that covered disputes “shall be submitted to and
   2   determined exclusively by binding arbitration under the Federal Arbitration Act . . .
   3   “ Milliron Decl., Exhibit A, ¶ 2.
   4           Accordingly, the FAA and related federal law apply to the issues set forth in
   5   this Motion.
   6                    1. The FAA exception does not apply
   7           Defendants anticipate that Plaintiff may argue that the FAA is inapplicable
   8   because the claims at issue fall under a narrow exception to the application of the
   9   FAA. Specifically, Defendants anticipated that Plaintiff will contend his claims fall
  10   within the FAA’s exception for “contracts of employment of seamen, railroad
  11   employees, or any other class of workers engaged in foreign or interstate
  12   commerce” as set forth in the FAA § 1. However, Plaintiff is not within the scope
  13   of Section 1 because he never crossed state lines.
  14           It is Plaintiff’s burden to prove that the FAA does not apply. (Gilmer v.
  15   Insterstate/Johnson Lane Corp., 500 U.S. at 35.) The exception in Section 1 applies
  16   specifically and solely to “transportation workers” like seamen and railroad
  17   employees whose duties include foreign or interstate deliveries; and any other
  18   exempt workers must be defined in light of the narrowness of these two categories.
  19   (Circuit City Stores, Inc. v. Adams (2001) 532 U.S. 105, 115-118.)                                      In turn,
  20   subsequent cases have strictly construed Section 1 to apply only to truck drivers
  21   whose duties include interstate deliveries – i.e. actual crossing of state lines.1 Here,
  22   Plaintiff never crossed state lines while providing delivery services for Defendants.
  23   Olvera Decl. ¶4. Therefore, Plaintiff is not part of any “class of workers engaged
  24   in foreign or interstate commerce” because there is no evidence he ever crossed
  25
  26   1
         To the extent that Plaintiff argues that Section 1 exemption should apply to any “transportation worker” who is
  27   otherwise within the FAA’s jurisdiction, this argument was rejected by the Supreme Court long ago. In Circuit City,
       the Supreme Court expressly rejected an attempt to conflate the “foreign or interstate commerce” requirement in
       Section 1, which is strictly construed, with the “involving commerce” jurisdictional statement in Section 2 of the
  28   FAA, which is broadly construed. See Circuit City Stores, 532 U.S. at 114.

                                             8               2:18-cv-06108 AB (RAOx)
                DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                  TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 15 of 27 Page ID #:96


   1   state lines when providing trucking services. (See Int’l. Bro. Teamsters Local
   2   Union No. 50 v. Kienstra Precast, LLC (7th Cir. 2012) 702 F.3d 954, 957-958
   3   [exemption for “transportation workers” only applied because truckers based in
   4   Illinois crossed state lines and made eight “interstate deliveries”]; Kowalewski v.
   5   Samandarov (S.D.N.Y. 2008) 590 F. Supp. 2d 477, 485 [exemption did not apply
   6   where drivers crossed state lines but primarily carried people rather than goods].)
   7   Put simply, while the fact that the Plaintiff transported foreign or interstate goods,
   8   within California, brings Plaintiff within the applicability of the FAA under Section
   9   2, that same fact does not render Plaintiff an exempt worker pursuant to Section 1.
  10           Therefore, enforcement of the Arbitration Agreement under the FAA is
  11   appropriate.2
  12           B. The Parties Entered Into Valid Agreements to Arbitrate Their
  13                Claims
  14                    1.       Plaintiff Executed the Arbitration Agreement, Which
  15                             Covers the Subject Claims
  16           Plaintiff electronically signed the Arbitration Agreement. That agreement
  17   encompasses the subject claims. It specifically includes “any claim, dispute, and/or
  18   controversy...arising from, related to, or having any relationship or connection
  19   whatsoever...with Worksite Employer and AVITUS GROUP...” Further included
  20   within the scope of this Agreement are “all disputes, whether based on tort,
  21   contract, statute (including but not limited to, any claims of discrimination and
  22   harassment, whether they be based on...any other state or federal law or regulation),
  23   equitable law, or otherwise...” Milliron Decl., ¶ 5; Exh. A.
  24           Based on Plaintiff’s refusal to submit to arbitration, Defendants anticipate
  25   Plaintiff may dispute his electronic signature on the Arbitration Agreement. The
  26
  27   2
        Further, because the FAA governs the Arbitration Agreement, Plaintiff cannot rely on the arbitration exclusions
       contained in Labor Code section 229 as the foregoing statute is preempted. See, Perry v. Thomas (1987) 482 U.S.
  28   483, 492.

                                             9               2:18-cv-06108 AB (RAOx)
                DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                  TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 16 of 27 Page ID #:97


   1   undisputed evidence confirms otherwise.
   2         Initially, Plaintiff’s electronic signature is effective to bind Plaintiff; a
   3   physical signature is not required. Cal. Civ. Code § 1633.7. The electronic
   4   signature can be established to be the act of Plaintiff “in any manner, including a
   5   showing of the efficacy of any security procedure applied to determine the person
   6   to which the electronic record or electronic signature was attributable.” Cal. Civ.
   7   Code § 1633.9(a). Avitus’ records confirm that Plaintiff created a unique and
   8   private user name and password and used them to access, review and sign the
   9   Arbitration Agreement. Staus Decl., at ¶ 5-12. Thus, Defendants have met their
  10   burden of demonstrating plaintiff signed the Arbitration Agreement. See Espejo v.
  11   Southern California Permanente Medical Group 246 Cal.App.4th 1047, 1062
  12   (2016).
  13         C. The Arbitration Agreement Is Valid and Enforceable
  14         Arbitration agreements must be enforced unless they are both procedurally
  15   and substantively unconscionable. Armendariz v. Foundation Health Psychcare
  16   Services, Inc., 24 Cal.4th 83, 114 (2000) . A sliding scale is invoked whereby the
  17   less procedurally oppressive the arbitration clause, the more evidence of
  18   substantive unconscionability is required. Mercuro v. Superior Court 96
  19   Cal.App.4th 164, 174 (2002). Plaintiff is unable to show either procedural or
  20   substantive unconscionability.
  21               1. The Arbitration Agreement is Virtually Identical to the
  22                  Agreement Upheld by the California Supreme Court
  23                  in Little v. Auto Stiegler
  24         In Little v. Auto Stiegler, Inc., 29 Cal.4th 1064 (2003), the California
  25   Supreme Court enforced an arbitration agreement that is virtually identical to the
  26   Arbitration Agreement. (Compare arbitration agreement quoted in Little at 1070-71
  27   with the Arbitration Agreement Milliron Decl., ¶ 5, Exh. A.) Indeed, the only
  28   difference between the agreements is that the Arbitration Agreement does not

                                           10              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 17 of 27 Page ID #:98


   1   contain the appellate review provision severed by the Little court. Id.
   2         In Nelsen v. Legacy Partners Residential, Inc., 207 Cal.App.4th 1115, 1124-
   3   25 (2012), the California Court of Appeal was similarly presented with an
   4   agreement that was virtually identical to the agreement in Little. In response, the
   5   Nelsen court held that there is no need to engage in a substantive unconscionability
   6   analysis: “In this case, the issue of whether the clause in question is substantively
   7   unconscionable has already been addressed by the California Supreme Court in
   8   Little.” Id. Similarly, in Marshall v. Pontiac, 287 F.Supp.2d 1229, 1232 (S.D. Cal.
   9   2003), the court ruled as follows when it was presented with an arbitration
  10   agreement that was virtually identical to the agreement in Little:
  11                   Although the Court would normally examine both prongs of
  12         plaintiff's unconscionability argument and then proceed to weigh the
  13         two, that exercise is unnecessary in this instance because the result
  14         here is dictated entirely by the California Supreme Court's decision in
  15         Little.
  16                   As is readily apparent, aside from the underlined portions and
  17         minor grammatical discrepancies, the agreement at issue in this case is
  18         an exact replica of the one in Little. Consequently, the proper
  19         resolution of plaintiff's unconscionability argument lies in the analysis
  20         and outcome of Little.
  21   Id. at 1232 (emphasis added). Simply put, because Little mandates enforcement of
  22   the Arbitration Agreement, this Court need not engage in an unconscionability
  23   analysis. Even if an unconscionability analysis were necessary, the Arbitration
  24   Agreement is not unconscionable.
  25                   2. The Arbitration Agreement Is Not Procedurally
  26                      Unconscionable.
  27         The procedural element of unconscionability “focuses on oppression or
  28   surprise due to unequal bargaining power.” Sonic–Calabasas A, Inc. v. Moreno

                                           11              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 18 of 27 Page ID #:99


   1   (Sonic II) 57 Cal.4th 1109, 1133 (2013). But the inability to negotiate the terms of
   2   an agreement does not render it so procedurally unconscionable to be
   3   unenforceable. See Lagatree v. Luce Forward, Hamilton & Scripps (1999) 74
   4   Cal.App.4th 1105, 1127. Indeed, such agreements are an “inevitable fact of life for
   5   all citizens” and do not establish procedural unconscionability sufficient to bar the
   6   enforcement of a voluntary agreement. Graham v. Scissor-Tail, Inc. 28 Cal.3d 807,
   7   817-818 (1981).
   8         Moreover, an arbitration agreement is not procedurally unconscionable
   9   simply because the employer insists that the employee sign the agreement as a
  10   condition of employment. See, e.g., Roman v. Superior Court 172 Cal.App.4th
  11   1462, 1470-71 (2009) (arbitration agreement presented on “take-it-or-leave-it basis
  12   with no opportunity to negotiate” not unconscionable since the “Supreme Court has
  13   acknowledged that adhesion contracts in the employment context typically contain
  14   some measure of procedural unconscionability” and whatever “procedural
  15   unfairness is inherent in an adhesion agreement in the employment context” was
  16   “limited in this case” because the “arbitration provision was not buried in a lengthy
  17   employment agreement”).
  18         In Dotson v. Amgen, Inc. 181 Cal.App.4th 975 (2010), the arbitration
  19   agreement was a condition of plaintiff’s employment, was presented on a “take-it-
  20   or-leave-it” basis and there was significant economic disparity between employer
  21   and employee. Id. at 978-981. Still, the court compelled arbitration, reasoning:
  22                In employment cases, the agreement is typically
                    prepared by the employer, and presented to the
  23                employee as a condition of employment without
                    negotiation regarding its terms. As such, the judicial
  24                discussion focuses on whether the employee is
  25                getting a fair shake in being required to resolve a
                    dispute in a forum which typically excludes a jury.
  26                Id. (Emphasis added).
  27         In Dotson, only a low degree of procedural unconscionability existed
  28   because employment relationships are necessarily adhesive. Id. Also, the

                                           12              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 19 of 27 Page ID #:100


   1   agreement was “not overly-long and [was] written in clear, unambiguous
   2   language.” Id. Because the “degree of procedural unconscionability” was
   3   “minimal,” the court required a high degree of “substantive unconscionability” to
   4   render the agreement unenforceable. Id. at 982-985; see also Serpa v. California
   5   Surety Investigations 215 Cal.App.4th 695 (2013) (non-negotiable arbitration
   6   agreement enforced where it was “offered on a take-it-or-leave-it basis” because
   7   the “degree of procedural unconscionability of an adhesion agreement is low” and
   8   will be enforced “unless the degree of substantive unconscionability is high.”)
   9   (emphasis added.)
  10         Here, the Arbitration Agreement is a stand-alone agreement, includes clear,
  11   concise and easily understood terms and clearly identifies the rights being
  12   forfeited. Milliron Decl., ¶ 5, Exh. A; Olvera Decl., ¶ 5, Exh. 1.
  13         The Arbitration Agreement is titled “Employee Acknowledgment and
  14   Arbitration Agreement” and conspicuously states in all capital letters that
  15   “EMPLOYEE UNDERSTANDS BY VOLUNATIRLY AGREEING TO THIS
  16   BINDING ARBITRATION PROVISION THAT EMPLOYEE, AVITUS GROUP,
  17   AND/OR THE WORKSITE EMPLOYER GIVE UP THEIR RIGHTS TO TRIAL
  18   BY JURY.” Milliron Decl., ¶ 5, Exh. A. Furthermore, to ensure that Plaintiff
  19   understood the import of the Arbitration Agreement before he signed it. Avitus
  20   included the following provisions just above the signature line: “MY SIGNATURE
  21   BELOW ATTESTS TO THE FACT THAT I HAVE READ, UNDERSTAND,
  22   AND AGREE TO BE LEGALLY BOUND TO ALL OF THE ABOVE TERMS.”
  23   Id.
  24         As illustrated by these provisions, the Arbitration Agreement is transparent
  25   and straightforward. There is simply no basis to find that Plaintiff was subjected to
  26   “oppression” or “surprise.”
  27   ///
  28   ///

                                           13              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 20 of 27 Page ID #:101


   1                3. The Agreement is Not Substantively Unconscionable
   2         In order to prove substantive unconscionability, Plaintiff must prove a
   3   “substantial degree of unfairness beyond a simple old-fashioned bad bargain.”
   4   Sanchez v. Valencia Holding Co., LLC 61 Cal.4th 899, 911 (2015) (emphasis in
   5   original). The analysis of substantive unconscionability is “highly dependent on
   6   context.” Id. Courts analyze the “commercial setting, purpose, and effect” of the
   7   contract. Cal. Civ. Code, § 1670.5(b); Sonic II, 57 Cal.4th at 1147–1148; Williams
   8   v. Walker–Thomas Furniture Co. 350 F.2d 445, 450 (D.C. Cir. 1965)
   9   (unconscionability must “be considered ‘in the light of the general commercial
  10   background and the commercial needs of the particular trade or case’”). “The
  11   ultimate issue in every case is whether the terms of the contract are sufficiently
  12   unfair, in view of all relevant circumstances, that a court should withhold
  13   enforcement.” Sanchez, 61 Cal.4th at 911.
  14         The context in which the parties entered into the Arbitration Agreement
  15   reveals that there was no “substantial degree of unfairness.” The Arbitration
  16   Agreement is a plain and straightforward agreement to arbitrate the parties’
  17   disputes. As such, there is simply no language in the Arbitration Agreement that
  18   “shocks the conscience,” or that is substantially unfair.
  19                4. The Agreements Satisfy All of the Armendariz Requirements
  20         As the California Supreme Court stated in Armendariz, an agreement to
  21   arbitrate employment-related claims vindicating non-waivable statutory rights is
  22   enforceable if both parties are equally bound by all terms of the agreement and if
  23   the agreement: (1) mutually binds both the employer and employee to arbitration;
  24   (2) provides for a neutral arbitrator; (3) provides for more than minimal discovery;
  25   (4) provides for relief available in court; (5) provides for a written arbitration
  26   award; and (6) does not require employees to pay unreasonable costs or fees. 24
  27   Cal.4th at 102-103, 117. Here, the Arbitration Agreement satisfies all the
  28   requirements:

                                           14              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 21 of 27 Page ID #:102


                           (a)   Plaintiff and Defendants are equally bound
   1
              The Arbitration Agreement obligates both Plaintiff and Defendants to
   2
        arbitrate any claims arising out of the employment relationship, including the
   3
        termination of that relationship. In particular, the Arbitration Agreement
   4
        provides:
   5
                     [Defendants] and [Plaintiff] each agree that any
   6                 claim, dispute, and/or controversy that either
                     [Plaintiff] may have against [Defendants] (or their
   7                 owners, directors, officers, managers, employees,
                     agents, and parties affiliated with their employee
   8                 benefits and health plans) or that [Defendants]
                     may have against [Plaintiff], arising from, related
   9                 to, or having any relationship or connection
                     whatsoever with [Plaintiff] seeking employment
  10                 with, employment by, termination from, or other
                     association with [Defendants] shall be submitted
  11                 to and determined exclusively by binding
                     arbitration...
  12
       Milliron Decl., ¶ 5, Exh. A.
  13
                           (b)   The Arbitration will be Conducted by a Neutral
  14                             Arbitrator
  15         The Arbitration Agreement unambiguously provides that “...any arbitrator
  16   herein shall be a retired California Superior Court Judge, and shall be subject to
  17   disqualification on the same grounds as would apply to a judge of such court ....”
  18   Milliron Decl., ¶ 5, Exh. A.
  19                       (c)   The Agreement Provides for Adequate Discovery
  20         The Arbitration Agreement does not place any limits on discovery and
  21   expressly provides that the arbitration will be determined “exclusively by binding
  22   arbitration under the Federal Arbitration Act, in conformity with the procedures of
  23   the California Arbitration Act (Cal. Code Civ. Proc. Sec 1280 et seq.), including
  24   section 1283.05 and all of the Act’s other mandatory and permissive rights to
  25   discovery.” Milliron Decl., ¶ 5, Exh. A. This provides for adequate discovery.
  26   Armendariz, 24 Cal.4th at 106. (“when parties agree to arbitrate statutory claims,
  27   they also implicitly agree, absent express language to the contrary, to such
  28   procedures as are necessary to vindicate that claim.”); see also Sanchez v. Western

                                           15              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 22 of 27 Page ID #:103


   1   Pizza Enterprises, Inc., 172 Cal.App.4th 154, 177 (2009) (“[T]he absence of
   2   express provisions...allowing discovery does not render the arbitration agreement
   3   unconscionable. Rather, those terms are implied as a matter of law as part of the
   4   agreement.”) Moreover, the language is identical to the language of the arbitration
   5   agreement in Little, which was held to provide for adequate discovery. Little,
   6   supra, 29 Cal. 4th at 1081.
   7                         (d) The Same Relief Available in Court is Available

   8                             through Arbitration
   9         The Arbitration Agreement states that “[a]ll rules of pleading (including the
  10   right of demurrer), all rules of evidence, all rights to resolution of the dispute by
  11   means of motions for summary judgment, judgment on the pleadings, and judgment
  12   under Code of Civil Procedure Section 631.8 shall apply and be observed.” It
  13   further states that “[r]esolution of the dispute shall be based solely upon the law
  14   governing the claims and defenses pleaded, and the arbitrator may not invoke any
  15   basis (including but not limited to, notions of “just cause”) other than such
  16   controlling law.” Milliron Decl., ¶ 5, Exh. A.
  17                         (e) The Arbitration Agreement Requires a Written

  18                             Arbitration Award
  19         The Arbitration Agreement provides that “[a]wards shall include the
  20   arbitrator’s written reasoned opinion.” Milliron Decl., ¶ 5, Exh. A.
  21                         (f) Plaintiff is Not Required to Pay Any Arbitration Fees
  22         The Arbitration Agreement does not request Plaintiff to bear any costs
  23   associated with arbitration. Milliron Decl., ¶ 5, Exh. A. The Arbitration
  24   Agreement’s silence on the issue of fees must be construed as requiring
  25   Defendants to pay all costs unique to arbitration. Armendariz, 24 Cal. 4th at 113.
  26         Thus, all of the Armendariz requirements are met and arbitration must be
  27   enforced.
  28   ///

                                           16              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 23 of 27 Page ID #:104


   1         D. To The Extent Any Provision Is Unconscionable, It Must Be
   2            Severed
   3         If only a portion of an agreement is invalid, the Court should sever the
   4   offensive provisions and enforce the remainder of the agreement. Id. Armendariz
   5   guides that:
   6                  If the illegality is collateral to the main purpose of the
                      contract, and the illegal provision can be extirpated
   7                  from the contract by means of severance and restriction,
                      then such severance or restriction are appropriate.
   8                  Armendariz, 24 Cal.4th at 124.
   9         As detailed above, the Agreements, taken as a whole, provide a fair dispute
  10   resolution process for employees. Therefore, if necessary, any unenforceable
  11   provision should be excised.
  12         E. Each Defendant Can enforce Arbitration Under Multiple
  13            Legal Theories
  14                  1. The Arbitration Agreement Specifically Applies to Avitus and
  15                     Scoobeez
  16         The Arbitration Agreement specifically provides that Plaintiff is obligated to
  17   arbitrate his claims against Avitus and the “Worksite Employer,” Scoobeez.
  18   Milliron Decl., ¶ 5, Exh. A. Additionally, the other legal theories identified below
  19   permit Scoobeez to enforce the Arbitration Agreement.
  20                  2. Scoobeez can enforce the Arbitration Agreement
  21         While Scoobeez is not a signatory to the Arbitration Agreement, it is entitled
  22   to enforce the provisions under multiple legal theories. Under the agency theory,
  23   Scoobeez is entitled to the benefit of the Arbitration Agreement. Alleged agents of
  24   a party to an arbitration agreement can compel arbitration so long as (1) the alleged
  25   wrongful acts of the agents relate to or are done in their capacities as agents; and
  26   (2) the claims against the alleged agents arise out of or relate to the contract
  27   containing the arbitration clause. See Garcia v. Pexco, LLC 11 Cal.App.5th 782,
  28   788, (2017) (a non-signatory may enforce arbitration agreement “when a plaintiff

                                           17              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 24 of 27 Page ID #:105


   1   alleges a defendant acted as an agent of a party to an arbitration agreement....”); see
   2   also Dryer v. Los Angeles Rams (1985) 40 Cal.3d 406, 418 (agents of Rams could
   3   compel arbitration of players’ claims against them individually). Here, Plaintiff
   4   alleges the requisite joint employer/agency relationship:
   5         “Plaintiff is informed and believes and thereon alleges that each Defendant
   6         acted in all respects pertinent to this action as the agent of the other
   7         Defendants, that Defendants carried out a joint scheme, business plan, or
   8         policy in all respects pertinent hereto, and that the acts of each Defendant are
   9         legally attributable to the other Defendants. Furthermore, Defendants acted
  10         in all respects as the employers or joint employers of Employees.” (Compl.,
  11         ¶ 10.)
  12         Further, a non-party to an arbitration agreement may enforce an arbitration
  13   agreement against a signatory when they are an intended third party beneficiary of
  14   an arbitration agreement. See Doulon v. USSA Cas Ins. Co. 167 Cal.App.4th 412,
  15   424 (2008); see also Mundi v. Union Sec. Life Ins. Co. 555 F.3d 1042, 1045 (9th
  16   Cir. 2009). Here, there can be no dispute that Scoobeez is an intended beneficiary.
  17   As discussed supra, the Arbitration Agreement expressly states that Plaintiff agreed
  18   to arbitrate covered disputes against both Avitus and the Worksite Employer (i.e.
  19   Scoobeez). Milliron Decl., ¶ 5, Exh. A ¶ 2; Olvera Decl., ¶ 5, Exh. 1. Through her
  20   joint employer theory, Plaintiff confirms Scoobeez is entitled to enforce the
  21   Arbitration Agreement as an intended third-party beneficiary.
  22         Finally, a non-signatory to an arbitration agreement may compel arbitration
  23   against a signatory on equitable estoppel grounds. See Garcia, 11 Cal.App.5th at
  24   788; Boucher v. Alliance Title Co., Inc. 127 Cal.App.4th 262, 271-73 (2005);
  25   Metalclad Corp. v. Ventana Envtl. Org. P’ship. 109 Cal.App.4th 1705, 1713
  26   (2003) (“the equitable estoppel doctrine applies when a party has signed an
  27   agreement to arbitrate but attempts to avoid arbitration by suing nonsignatory
  28   defendants for claims that are based on the same facts and are inherently

                                           18              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 25 of 27 Page ID #:106


   1   inseparable.”)
   2         Under this theory, “a nonsignatory defendant may invoke an arbitration
   3   clause to compel a signatory plaintiff to arbitrate its claims when the causes of
   4   action against the nonsignatory are ‘intimately founded in and intertwined’ with
   5   the underlying contract obligations.” Boucher, supra, 127 Cal.App.4th at 271.
   6   Signatory plaintiffs making statutory claims can be compelled to arbitrate their
   7   claims against nonsignatory defendants if the claims involve “the same factual
   8   allegations” as the claims made against the signatory defendants, and thus are
   9   inherently inseparable from the claims against the signatory defendants. See
  10   Laswell v. AG Seed Beach, LLC, 189 Cal.App.4th 1399, 1407 (2010); Garcia, 11
  11   Cal.App.5th at 784 (applying equitable estoppel theory to enforce arbitration
  12   agreement because the claims were “expressly, included as one of the types of
  13   disputes covered by the arbitration agreement.”
  14         The allegations against Defendants are identical, intertwined and
  15   interdependent. Plaintiff makes no specific and/or independent allegations against
  16   Scoobeez or Avitus. Instead, under her joint employer theory, Plaintiff asserts
  17   Scoobeez and Avitus should each be liable for the alleged conduct of the other. Put
  18   simply, the legal and factual claims against all Defendants are identical.
  19         F. The Civil Action Should be Stayed Pending Arbitration or,
  20             Alternatively, Dismissed Without Prejudice.
  21         The 9th Circuit treats a motion to compel arbitration as a Rule 12(b)(1)
  22   motion for lack of jurisdiction. See Geographic Expeditions, Inc. v. Estate of
  23   Lhotka, 599 F. 3d. 1102, 1106-07 (9th Cir. 2010). As such, because Plaintiff
  24   agreed to arbitration, Plaintiff’s claims must be dismissed.
  25         In the alternative, where a court orders arbitration of a controversy, “the
  26   court in such action shall...stay the action or proceeding until an arbitration is had
  27   in accordance with the order to arbitrate or until such earlier time as the court
  28   specifies.” Cal. Code Civ. Pro. § 1281.4 (emphasis added); see also Federal Ins.

                                           19              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 26 of 27 Page ID #:107


   1   Co. v. Superior Court 60 Cal.App.4th 1370, 1374 (1998) (requiring stay of lawsuit
   2   pending completion of arbitration). Similarly, under the FAA, the court “shall on
   3   application of one of the parties stay the trial of the action until such arbitration
   4   has been had in accordance with the terms of the agreement...”) 9 U.S.C. § 3
   5   (emphasis added).
   6         G. Plaintiff’s Claims Must be arbitrated individually
   7         The United States Supreme Court previously held that under the FAA, “A
   8   party may not be compelled to submit to class arbitration unless there is a
   9   contractual basis for concluding that the party agreed to do so.” Kinecta
  10   Alternative Financial Solutions, Inc. v. Superior Court (2012) 205 Cal. App. 4th
  11   506, 509 [citing Solt-Nielsen S.A. v. Animal Feeds International Corp. 559 U.S.
  12   662, 684-685 (2010)]. When there is “no agreement” authorizing class arbitration,
  13   “the parties cannot be compelled to submit their dispute to class arbitration.” Stolt
  14   –Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 687 (2010).) Further, “the
  15   parties mere silence on the issue of class-action arbitration [is insufficient to]
  16   constitute[]consent to resolve their disputes in class proceedings.” Id.
  17         Here nothing in the Arbitration Agreement authorizes class-wide
  18   arbitration. Indeed the California Court of appeal in both Kinecta and Nelsen
  19   analyzed virtually identical arbitration to the Arbitration Agreement executed by
  20   Plaintiff, and held that they did not authorize class-wide arbitration and, in turn,
  21   ordered the plaintiff to submit their respective claims to individual arbitration
  22   only. Nelsen, 207 Cal. App. 4th at 1129-1131 (observing that the arbitration
  23   agreement “does not permit class arbitration”) (emphasis added); Kinecta, 2015
  24   Cal. App. At 519 (“We conclude that the parties did not agree to authorize class
  25   arbitration in their arbitration agreement.”) (emphasis added).)
  26         Finally, the availability of class-wide arbitration is a gateway question of
  27   arbitrability that must be decided by this court rather than by an arbitrator. See,
  28   e.g., Eshagh v. The Terminix International Company 588 Fed.App. 703, 704 (9th

                                           20              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
Case 2:18-cv-06108-AB-RAO Document 9 Filed 07/20/18 Page 27 of 27 Page ID #:108


   1   Cir. 2014); Armenta v. Staffworks, LLC 2017 WL 3118778 at * 3-4 (S.D. Cal.
   2   2017) (observing that the subject arbitration agreement contained no specific
   3   language delegating any threshold question of arbitrability to the arbitrator.”;
   4   Chico v. Hilton Worldwide, Inc. 2014 WL 5088240 at * 11 (C.D. Cal. 2014)
   5   (because the parties did not clearly and unmistakably provide otherwise, the Court,
   6   rather than the arbitrator, must decide whether the . . . Arbitration Agreements
   7   authorize class arbitration.”).
   8   V.    CONCLUSION
   9         For all of the foregoing reasons, Defendants respectfully requests that this
  10   Court grant this motion and issue the following orders: (1) that the claims asserted
  11   in this action, be resolved through individual arbitration pursuant to the Arbitration
  12   Agreement; (2) this action be stayed or, alternatively, dismissed without prejudice,
  13   to permit the adjudication of this controversy through arbitration.
  14
  15   DATED: July 20, 2018              LECLAIRRYAN LLP
  16
  17                                     By:
                                         Rafael G. Nendel-Flores, Esq.
  18                                     Guillermo M. Tello, Esq.
                                         Attorney for Defendants
  19                                     SCOOBEEZ AND AVITUS, INC.
                                         dba AVITUS GROUP
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                           21              2:18-cv-06108 AB (RAOx)
              DEFENDANTS’ MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
                TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
